            Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 1 of 9 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ☐ Original    ☐ Duplicate Original


                                UNITED STATES DISTRICT COURT
9/23/2021
                                                         for the
  DTA

                                            Central District of California
                                                                                                    9/23/2021

 United States of America

                 v.
                                                                   Case No. 8:21-mj-00637-DUTY
 FRANK WILLIAM EVANS,

                 Defendant.


                             CRIMINAL COMPLAINT BY TELEPHONE
                            OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of August 2, 2021, in the county of Orange in the Central District of California, the

defendant violated:

           Code Section                                  Offense Description
           21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vi)         Possession with Intent to Distribute Fentanyl

         This criminal complaint is based on these facts:

         Please see attached affidavit.

          Continued on the attached sheet.


                                                                                Farshid Hashempour
                                                                                Complainant’s signature

                                                                      Farshid Hashempour, Task Force Officer
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                September 23, 2021
                                                                                     Judge’s signature

 City and state: Santa Ana, California                             Honorable Karen E. Scott, U.S. Magistrate Judge
                                                                                 Printed name and title




AUSA:____Faraz Mohammadi (714-338-3599)________
  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 2 of 9 Page ID #:2




                           A F F I D A V I T

     I, Farshid Hashempour, being duly sworn, hereby declare and

state as follows:
                              INTRODUCTION

     1.     I am a Detective with the Santa Ana Police Department

(“SAPD”) and also a federally deputized Task Force Officer

(“TFO”) presently working with the Federal Bureau of

Investigation (“FBI”).     As a TFO with the FBI, I am an

investigative or law enforcement officer of the United States

within the meaning of 18 U.S.C. § 2510(7), and I am empowered by

law to conduct investigations and make arrests for offenses

enumerated in 18 U.S.C. § 2516.

     2.     I am assigned to the Orange County Violent Gang Task

Force (“OCVGTF”).     The OCVGTF is composed of federal and local

law enforcement agencies, including, but not limited to, the

FBI, the SAPD, and detectives from the Anaheim Police

Department.   The OCVGTF is responsible for, among other things,

investigating violations of federal law committed by criminal

street gangs, the Mexican Mafia, and other violent criminal

organizations in Orange County.          Prior to this assignment with

the FBI, I was a SAPD Police Officer and have been so employed

for approximately twenty years.

     3.     I have specialized training and experience in

investigations of narcotics trafficking and criminal street

gangs.    During my tenure as a Police Officer, as well as an FBI

TFO, I have conducted and participated in numerous

investigations of criminal activity, specifically including


                                     1
  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 3 of 9 Page ID #:3




narcotics trafficking and violent offenses committed by street

gangs.

                          PURPOSE OF AFFIDAVIT

     4.    This affidavit is made in support of a criminal

complaint against and arrest warrant for FRANK WILLIAM EVANS

(“EVANS”) for violations of 21 U.S.C. §§ 841(a)(1),

(b)(1)(A)(viii): Possession with Intent to Distribute

Methamphetamine, and 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vi):

Possession with Intent to Distribute Fentanyl.

     5.    The facts set forth in this affidavit are based upon

information obtained from other law enforcement personnel, my

personal knowledge, and my training and experience.           This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and warrant, and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                       SUMMARY OF PROBABLE CAUSE

     6.    On or about August 2, 2021, SAPD Officer I. Buan,

while working with a Probation Enforcement detail, conducted a

probation compliance check at 908 North Louise Street, in the

city of Santa Ana, California.       This location was the address of

record for EVANS, who is on active probation with search and

seizure terms.

     7.    Officer Buan and members of the Orange County

Probation Department knocked on the door to the residence, but


                                     2
  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 4 of 9 Page ID #:4




did not get a response.      EVANS was then observed exiting the

side yard with a gray plastic tube in his hand.          The tube, which

was melted at each end, appeared to have dark residue inside of

it.   Officer Buan recognized this tube as a device commonly used

to ingest narcotics.     EVANS was handcuffed and detained in the

yard.

        8.   After EVANS was detained, Officer Buan advised EVANS

of his Miranda rights.     EVANS understood his rights and agreed

to speak to Officer Buan.      EVANS then admitted that he used the

tube to smoke methamphetamine.       During the interview, Officer

Buan was contacted by Probation Officers who advised him that

they had found additional evidence in the garage.          Inside the

garage was a red and black tool bag that contained approximately

276 grams of a white crystalline substance believed to be

methamphetamine, and approximately 279 grams an off-white

substance believed to be fentanyl.        The Officers also found a

digital scale, four cell phones and packaging material

consistent with narcotic distribution and sales.

        9.   Officer Buan showed EVANS the white crystalline

substance, which he identified as “speed,” a common street term

used for methamphetamine.      EVANS also identified the off-white

powdery substance as fentanyl.       EVANS said he paid $100 for the

methamphetamine and was given the fentanyl with the promise that

he would pay for it at a later date.        EVANS denied being

involved in the sales of narcotics.




                                     3
  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 5 of 9 Page ID #:5




                      STATEMENT OF PROBABLE CAUSE

     7.    I have reviewed the police report prepared by SAPD

Officer Buan covering the arrest of EVANS on August 2, 2021.

Based on my review of the reports and my conversation with

Officer Buan, I have learned the following facts:

           a.     On August 2, 2021, at about 8:38 a.m., Officer

Buan assisted Deputy Probation Officer (DPO) N. Carmona and

other Orange County Probation Officers with a probation

compliance check at 908 North Louise Street, Santa Ana,

California.     This location is the address of record for one of

DPO Carmona’s probationers, identified as EVANS.          Prior to the

compliance check, Officer Buan and his partner, Officer N.

Cavendish, conducted a records check on EVANS, which confirmed

his active probation status.

           b.     Upon their arrival at EVANS’ residence, Officer

Buan and DPO Carmona knocked on the door, but there was no

response at the door.     Officer Cavendish, DPO J. Andrew and DPO

E. Guzman were positioned to watch the side yard while Officer

Buan and DPO Carmona knocked on the door.         After the knock at

the door, Officer Cavendish, DPO Andrew and DPO Guzman observed

EVANS walking out towards the side gate.         Officer Cavendish and

the Probation Officers opened the gate and contacted EVANS in

the side yard.

           c.     EVANS was observed holding a plastic gray tube in

his hand, which contained dark residue inside of it.           Officer

Buan noticed that the ends of the tube appeared to have melted,

possibly from exposure to a flame or heating implement.           Based


                                     4
  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 6 of 9 Page ID #:6




on his training and experience, Officer Buan has known narcotic

users to place controlled substances on foil, which they then

heat from underneath.     The heat causes the substance on the foil

to heat up and vaporize into a smoke, which is then typically

inhaled by means of a straw or tube similar to the one EVANS was

observed holding.     Officer Buan concluded that EVANS was in

possession of narcotic paraphernalia, in violation of the

California Health and Safety (HS) Code H&S 11364(a).

           d.     EVANS was handcuffed and escorted to the backyard

patio, where he was seated in a chair while the Officers

completed the probation check.       Using his SAPD issued Officer’s

Index, Officer Buan read EVANS his Miranda rights.           EVANS

acknowledged his rights and told Officer Buan that he used the

plastic tube found in his hand to smoke approximately 0.5 grams

of methamphetamine per day.      EVANS stated that he used the

plastic tube to smoke methamphetamine that morning.           While

Officer Buan was speaking to EVANS, DPO Carmona and Officer

Cavendish advised Officer Buan that they had found something in

EVANS’ garage.    Officer Buan concluded the interview and

accompanied DPO Carmona to the garage.

           e.     In the garage, DPO Carmona showed Officer Buan a

red and black tool bag that she found on the floor in front of a

dark couch.     The tool bag had two substances inside of it.         One

of the substances was wrapped in a thick piece of plastic, and

described as a white crystalline substance resembling

methamphetamine.    The other substance was an off-white powdery

substance that was found in a thin plastic bag.          The appearance


                                     5
  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 7 of 9 Page ID #:7




of the off-white powdery substance was consistent with fentanyl.

            f.     On the couch, DPO Carmona also found a black

digital scale with white residue on it as well as EVANS’ cell

phone.   Officer Cavendish also located three cell phones on a

bookshelf next to the couch, but only one of the cell phones was

functional.      Officer Cavendish located a brown box with several

small paper envelopes.     The packaging was located on the same

bookshelf where the phones were located.         Officer Cavendish

found a small red, white and blue colored cylindrical container,

which contained an off-white powdery substance consistent with

fentanyl.

            g.     Officer Buan then went back to EVANS and asked

him about the items found in the garage.         Officer Buan removed

the white crystalline substance wrapped in thick plastic from

the tool bag and showed it to EVANS.        Evans initially said that

he did not know what the substance was before finally admitting

that it was “speed.”     It should be noted that the term “speed”

is a common street term for methamphetamine.         Officer Buan also

showed EVANS the off-white powdery substance, which EVANS

identified as fentanyl.      EVANS admitted to mixing the

methamphetamine and fentanyl together, which he referred to as a

“speedball.”     A “speedball” is term given when a stimulant such

as methamphetamine is mixed with a depressant or opioid like

fentanyl to produce an intense euphoria while minimizing the

negative effects of either substance when taken by itself.

EVANS said he paid $100 for the half pound of methamphetamine.




                                     6
     Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 8 of 9 Page ID #:8




              h.     While speaking with EVANS, Officer Cavendish

handed Officer Buan a Ziploc bag containing an off-white powdery

substance, which EVANS also identified as fentanyl mixed with

dirt.     EVANS said he has not paid for the fentanyl, but was

supplied with the narcotic on the promise to pay for it at a

later date.        EVANS denied being involved in the sales of

methamphetamine or fentanyl.

              i.     At the Santa Ana jail, Officer Buan weighed the

narcotics and found that the substance believed to be

methamphetamine weighed approximately 276 grams.             The packages

of the off-white powdery substance believed to be fentanyl were

found to weigh approximately 279 grams.            The narcotics taken

from the search of EVANS’ residence were later obtained from the

SAPD and sent to the DEA Southwest Lab for quantitative and

qualitative testing.        Based on my training and experience, which

includes observing fentanyl and methamphetamine, I submit that

there is probable cause to believe that the narcotics taken

during the search of EVANS’ garage are in fact fentanyl and

methamphetamine.       Additionally, based on my training and

experience, 276 grams of methamphetamine and 279 grams of

fentanyl are distribution amounts of the narcotics.

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  Case 8:21-cr-00197-VAP Document 1 Filed 09/23/21 Page 9 of 9 Page ID #:9




                                CONCLUSION

     7.    For all the reasons described above, there is probable

cause to believe that EVANS has committed violations of 21

U.S.C. §§ 841(a)(1), (b)(1)(A)(viii): Possession with Intent to

Distribute Methamphetamine, and 21 U.S.C. §§ 841(a)(1),

(b)(1)(B)(vi): Possession with Intent to Distribute Fentanyl.




                                          /s/
                                         FARSHID HASHEMPOUR
                                         Task Force Officer, FBI


Attested to by the applicant
in accordance with the
requirements of Fed. R.
Crim. P. 4.1 by telephone on
      23
this ____ day of September
2021.




HONORABLE KAREN E. SCOTT
UNITED STATES MAGISTRATE JUDGE




                                     8
